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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

WILLIAM HUDSON, individually, and on )
behalf of all others similarly situated, )
                                         )
                                         )
         Plaintiff,                      )
                                         )                  Case No.:
         v.                              )
                                         )                  Judge:
PROTECH SECURITY GROUP, INC., an )
Illinois corporation, KEITH BENSON, an )
individual,                              )
                                         )
         Defendants.                     )


                                         COMPLAINT

       Plaintiff, WILLIAM HUDSON, brings this civil action on behalf of himself, individually,

and on behalf of all other similarly-situated persons known and unknown, by and through his

attorneys, Seth R. Halpern and Meredith W. Buckley of Malkinson & Halpern, P.C., and

complains of the Defendants, PROTECH SECURITY GROUP, INC., an Illinois Corporation,

and KEITH BENSON, an individual, (“Defendants”), as follows:

                            NATURE OF PLAINTIFF’S CLAIMS

       1.      This lawsuit arises under the Illinois Minimum Wage Law, 820 ILCS 105/1 et

seq., (“IMWL”), the Illinois Wage Payment and Collection Act, 820 ILCS 115.1 et seq.,

(“ÍWPCA”), and the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”) for

Defendants’ failure to pay all earned wages and/or earned overtime wages to Class Plaintiff and

other similarly-situated persons for all time worked and all time worked in excess of forty hours
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in individual work weeks. A copy of Class Plaintiff’s Consent form to act as Representative

Plaintiff in this collective action is attached hereto as Exhibit A.

       2.      Defendants operate a private security firm headquartered at 106 Stephen Street,

Lemont, Illinois 60439. Defendants contract with various construction sites and commercial

locations to provide security and patrol services. Plaintiff and similarly-situated individuals have

been employed by Defendants as security officers and patrol personnel. Defendants have

employed over one hundred of such employees in the prior three years.

       3.      Plaintiff brings this case on behalf of himself, individually, and on behalf of

others who currently work, or who worked, as security officers and patrol personnel at any time

during the applicable statute of limitations period (hereinafter “Violation Period”).

                                          THE PARTIES

       4.      Plaintiff, WILLIAM HUDSON, is a resident of Lake County, Indiana and worked

as a security officer for Defendants from approximately February of 2000 to March 1, 2015.

       5.      Defendant, PROTECH SECURITY GROUP, INC., owns and/or operates a

security firm headquartered at 106 Stephen Street, Lemont, Cook County, Illinois 60439.

       6.      Defendant, KEITH BENSON (hereinafter “BENSON”), is the President of, and

owns and operates PROTECH SECURITY GROUP, INC.

       7.      Defendant KEITH BENSON directly and/or indirectly acted and continues to act

in the interest of PROTECH SECURITY GROUP, INC. in relation to its employees. BENSON,

as President of PROTECH SECURITY GROUP, INC., allocated compensation to employees,

made wage payment decisions, set policy and practices regarding employee pay and made, and

continues to make, hiring and firing decisions for PROTECH SECURITY GROUP, INC.




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        8.     At all relevant times, Plaintiff and other similarly-situated individuals were

Defendants’ “employees” as that term is defined by the IMWL, IWPCA and FLSA.

        9.     At all relevant times, Defendants, PROTECH SECURITY GROUP, INC. and

KEITH BENSON, were, and are, “employers” as the term is defined by the IMWL, IWPCA and

FLSA.

                                   FACTUAL BACKGROUND

        10.    Plaintiff is an individual security officer who was employed by Defendants from

approximately February of 2000 until March 1, 2015.

        11.    Defendant, PROTECH SECURITY GROUP, INC. contracts with various

construction sites, commercial locations and private individuals to provide security services.

        12.    During the applicable statute of limitations period, Defendants would assign

Plaintiff and other similarly-situated security officers to such construction sites, commercial

locations or private individuals for the purpose of providing security and patrol services.

        13.    At all relevant times, Defendants required Plaintiff and other similarly situated

employees to patrol and monitor their assigned sites for scheduled periods of time. Defendants

scheduled the shifts for all of its security officers, including Plaintiff. Plaintiff and other

similarly situated employees were required to remain onsite until another security officer

relieved them from their post. If Plaintiff’s, or another similarly situated security officer’s,

scheduled shift ended and a relief security officer was not present, Defendants required the on-

duty security officer to stay at their assigned site past their scheduled shift until another security

officer arrived to relieve them from their post.

        14.    At all relevant times, Defendants trained and instructed Plaintiff and its similarly

situated employees on how to perform their job duties.



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       15.     At all relevant times, Defendants additionally controlled, supervised and

monitored Plaintiff’s and other similarly situated security officer’s work by regularly sending

management personnel to visit worksites and checking on Plaintiff and its similarly situated

security officers and employees.

       16.     Plaintiff and other similarly situated security officers were not allowed breaks,

including for meals, and were required to monitor and patrol their assigned sites continually for

the duration of their shifts until they were relieved from their post.

       17.      Defendants’ routinely and continually did not pay Plaintiff and their similarly

situated employees for all time worked and committed unlawful employment practices that

included, but are not limited to:

               a.      docking hours from Plaintiff and other similarly situated employees for

                       alleged violations of Defendants’ rules and/or policies;

               b.        docking hours from Plaintiff and other similarly situated employees if

                       they were minutes late for their scheduled shifts;

               c.      docking hours from Plaintiff and other similarly situated employees if

                       management arrived at a site and a security officer was found to be offsite

                       for any reason, including to eat or obtain food;

               d.      incorrectly calculating and/or eliminating hours worked from Plaintiff’s

                       and other similarly situated employees’ time sheets for reasons other than

                       those stated above, or for no reason; and

               e.      wrongfully classifying Plaintiff and other similarly situated employees as

                       independent contractors when they were employees.




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       18.     Plaintiff and other similarly situated security officers typically worked sixteen to

twenty-four hour shifts in a single day and typically worked five to six days per week. As a

result, Plaintiff and other similarly situated security officers typically worked well in excess of

forty hours in most individual work weeks.

       19.     At the end of each week, Plaintiff and other similarly situated security officers

were required to send Defendants timesheets documenting their site location and hours worked.

       20.     Plaintiff and other similarly situated security officers were paid different rates

depending on their assigned sites. Plaintiff was typically paid $10.00 per hour by Defendants.

       21.     At all relevant times, Defendants knew and were aware at all times that their

security officers routinely worked in excess of forty hours per individual work week.

Nonetheless, Defendants did not pay Plaintiff and their similarly situated employees overtime

wages for hours worked in excess of forty hours during individual work weeks, as required by

Federal and Illinois wage and hour law.

       22.     Plaintiff and other similarly situated employees were all subject to Defendants’

uniform policies and practices and were victims of Defendants’ schemes to deprive them of

regular and overtime pay. As a result of Defendants’ improper and willful failures to pay

Plaintiff and other similarly situated employees in accordance with the requirements of Federal

and Illinois wage and hour law, Plaintiff and other similarly situated employees suffered lost

wages and other damages.

       23.     Continually and throughout his employment, Plaintiff complained to

management, including but not limited to Keith Benson, about not being paid for hours worked,

often as punishment for alleged violations of Defendants’ rules and policies.




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       24.     Continually and throughout his employment, Plaintiff complained to

management, including but not limited to Keith Benson, about not receiving overtime wages.

       25.     In retaliation for Plaintiff’s complaints regarding Defendants’ failure to pay

Plaintiff for certain work hours and the non-payment of overtime wages, Defendants

reprimanded Plaintiff, threatened to remove him from job sites and, ultimately, terminated his

employment in March of 2015.


                                JURISDICTION AND VENUE

       26.     This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 28 U.S.C. §

1331, arising under 29 U.S.C. § 216(b). Venue is proper in this judicial district as the facts and

events giving rise to Plaintiff’s claims occurred in this district. This Court has supplemental

jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367.

                                    CLASS ALLEGATIONS

       27.     With respect to the IMWL, IWPCA and FLSA claims, Plaintiff, William Hudson,

seeks to represent a class that is comprised of and defined as:

       “All security officers and patrol personnel who worked for Defendant PROTECH
       SECURITY GROUP INC., its subsidiaries, affiliated companies and/or predecessors at
       any time during the relevant statute of limitations period.”

       28.     This action is properly maintainable as a class action under F.R.C.P. 23 because:

       a.      This class is so numerous that joinder of all the claims is impracticable;

       b.      There are questions of law or fact that are common to the class and predominate
               over any variations or individual issues that may exist between members of the
               Plaintiff class;

       c.      The claims of the Representative Plaintiff are typical of the claims of the class;
               and

       d.      The Representative Plaintiff will fairly and accurately protect the interests of the
               class.

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                                           Numerosity

          29.   While the precise number of members of the Class has not yet been determined at

this time, Class Plaintiff believes Defendants have employed in excess of one hundred persons

who have been subject to Defendants’ common unlawful pay practices during the Violation

Period.

                                             Commonality

          30.   There are numerous and substantial questions of law and fact common to

members of the class including, but not limited to:

                a.     Whether Defendants’ complained of practices violated the Illinois
                       Minimum Wage Law, 820 ILCS 105/1 et seq., the Illinois Wage Payment
                       and Collection Act, 820 ILCS 115/1 et seq., and the Fair Labor Standards
                       Act, 29 U.S.C. § 201 et seq.;

                b.     Whether Defendants failed to compensate class members for all the work
                       they assigned, required, encouraged, suffered or permitted class members
                       to perform;

                c.     Whether Defendants failed to keep true and accurate records for all time
                       worked;

                d.     Whether Defendants failed to compensate class members for all work
                       performed in excess of forty hours per workweek with overtime premium
                       wages;

                e.     Whether Defendants willfully failed to comply with federal and state wage
                       and hour laws;

                f.     Whether Defendants improperly classified and compensated Plaintiff and
                       the class members as independent contractors instead of hourly employees

                g.     Whether Plaintiff and the other class members were injured by
                       Defendants’ conduct, and the measure of damages and/or injunctive relief
                       to which Plaintiff and the class are entitled.




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       31.     These and other questions of law and fact common to the members of the Class

are important and predominate over questions, if any, which may affect only individual

members.

                                            Adequacy

       32.     Plaintiff will fairly and adequately protect the interest of each Class member in

that Plaintiff was a typical employee subject to Defendants’ payment practices and has no

interest antagonistic to the other members of the class. Furthermore, Plaintiff has retained

competent legal counsel experienced in class action litigation.

                                            Typicality

       33.     Plaintiff’s claims are typical of the claims of all members of the class in that

Plaintiff and the putative class members were or should have been employed by Defendants as

hourly workers subjected to and damaged by Defendants’ alleged unlawful payment practices.

Plaintiff’s claims and relief sought, monetary damages, injunctive relief, attorneys’ fees and

costs, are predominately common with each class member

                                           .Superiority

       34.     A class action is superior to other available means for the fair and efficient

adjudication of the controversy because individual joinder of the parties is impracticable. Class

action treatment will allow numerous similarly situated persons to prosecute their common

claims in a single forum simultaneously, efficiently and without the unnecessary duplication of

effort and expense that would be incurred if these claims were brought individually. The

presentation of separate civil actions by individual class members could create a risk of

inconsistent and varying adjudications, establish incompatible standards of conduct for the




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Defendants and/or substantially impair or impede the ability of class members to protect their

interests.

                                            COUNT I

                                         (Class Action)
                             Violation of the Illinois Minimum Wage Law

        35.    Plaintiff, individually and on behalf of the class, hereby re-alleges and

incorporates paragraphs 1-34 of this Complaint as if fully set forth herein.

        36.    This Court has supplemental jurisdiction over the matters alleged herein pursuant

to 28 U.S.C. § 1367.

        37.    Defendants are “employers” and Plaintiff and similarly situated individuals are

“employees” under Illinois Statute 820 ILCS § 105 et seq.

        38.    Illinois Statute 820 ILCS § 105 et seq. requires employers to pay employees

minimum wage for all hours worked.

        39.    Section 105/4(a) requires employers to pay employees one and a half times their

regular rate for all hours worked over forty hours per individual work week.

        40.    Defendants violated Illinois Statute 820 ILCS § 105 et seq. by regularly and

repeatedly failing to compensate Plaintiff and other class members as employees for the actual

time they worked each week, including unpaid overtime at one and a half times their regular,

hourly rate, for all hours worked per week in excess of forty hours during the violation period.

        41.    Additionally, Defendants’ policy and practice of docking and/or eliminating hours

from Plaintiff’s and other class members’ timesheets violated Illinois Statute 820 ILCS § 105 et

seq.

        42.    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff and

other class members have suffered and continue to suffer lost wages and other damages.

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       43.     Plaintiff and the class members are entitled to injunctive relief to prevent

Defendant from continuing its violations of these statutory provisions and other appropriate

class-wide injunctive relief for the class.

       WHEREFORE, Plaintiff, WILLIAM HUDSON, individually and on behalf all others

similarly situated prays for judgment against the Defendants, PROTECH SECURITY GROUP,

INC. and KEITH BENSON, and each of them, as follows:

               a.      Certifying the class of individuals who were employed by Defendants as
                       hourly paid, non-exempt employees in the State of Illinois at any time
                       during the relevant statute of limitations period;

               b.      Appointing Plaintiff’s counsel as counsel for the class;

               c.      Appointing WILLIAM HUDSON as Class Representative;

               d.      Declaring and finding that the Defendants committed one or more of the
                       following acts:

                       i.      violated provisions of the Illinois Minimum Wage Act, 820 ILCS §
                               105 et. seq. by failing to pay minimum wage to Plaintiff and all
                               class members for time worked; and/or

                       ii.     violated provision of the Illinois Minimum Wage Act, 820 ILCS §
                               105 et. seq. by failing to pay overtime wages to Plaintiff and all
                               class members; and/or

                       iii.    violated provisions of the Illinois Minimum Wage Act, 820 ILCS §
                               105 et. seq., by eliminating hours from Plaintiff and class members
                               pay calculations for alleged violations of Defendants’ rules and
                               policies or for no reason at all.

               e.      Awarding compensatory damages, including all regular and overtime pay
                       owed, in an amount according to proof;

               f.      Awarding interest on all regular and overtime compensation due accruing
                       from the date such amounts were due;

               g.      Awarding all costs and reasonable attorneys’ fees incurred in prosecuting
                       this claim;

               h.      Granting leave to amend to add claims under applicable state and federal

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                        law;

               i.       Granting leave to name additional Plaintiffs by motion or any other
                        method approved by Court;

               j.       Entry of a Permanent Injunction barring Defendants from engaging further
                        in practices that violate the Illinois Minimum Wage Act, 820 ILCS 105/1
                        et seq.; and

               k.       Providing such relief as the Court deems just and equitable.

                                              COUNT II
                                            (Class Action)
                    Violations of the Illinois Wage Payment and Collection Act

       35.     Plaintiff, individually and on behalf of the class, hereby re-alleges and

incorporates paragraphs 1-34 of this Complaint as if fully set forth herein.

       36.     This Court has supplemental jurisdiction over the matters alleged herein pursuant

to 28 U.S.C. § 1367

       37.     At all relevant times Defendants are and were “employers” and the Plaintiff and

class members are and were “employees” under Illinois statute 820 ILCS § 115/1 et seq.

       38.     Illinois Statute 820 ILCS § 115/1 et seq., Illinois Wage Payment and Collection

Act, defines wages as “any compensation owed to an employee pursuant to an employment

contract or agreement between the two parties...” Payment to separated employees is termed

“final compensation” and is defined as “wages, salaries, earned commissions, earned bonuses

and any other compensation owed the employee by the employer pursuant to any employment

contract or agreement between the two parties.”

       39.     Illinois statute 820 ILCS § 115/4 requires employers to pay employees all wages

earned by an employee during a semi-monthly or bi-weekly pay period no later than 13 days

after the end of the pay period in which such wages were earned. Illinois Statute 820 ILCS

§115/5 provides that “every employer shall pay the final compensation of separated employees

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in full, at the time of separation, if possible, but in no case later than the next regularly scheduled

payday for such employee.”

       40.     At all times relevant, there was an agreement between Defendants, on the one

hand, and Plaintiff and all other similarly situated employees on the other hand, that Defendants

would pay them an hourly wage in exchange for all time worked as security officers and patrol

personnel, and there was no agreement allowing Defendants to dock and/or eliminate time

actually worked from Plaintiff’s and other similarly situated employees’wage calculations..

       41.     Defendant routinely “docked” Plaintiff’s and other similarly situated employees’

time when Defendants’ supervisors or management believed Plaintiff or other similarly situated

employees had violated one of Defendants’ rules, policies or standards it had in place for its

security officers and patrol personnel. Defendant breached its agreement to pay Plaintiff and all

other similarly situated individuals an hourly wage for all time worked by “docking” pay to

Plaintiff and other similarly situated individuals for alleged violations of rules, policies or

standards.

       42.     Defendants breached its agreement to pay Plaintiff and other similarly situated

individuals by routinely eliminating hours worked and/or incorrectly calculating the total time

worked by Plaintiff and other similarly situated security officers.

       43.     Defendant violated Illinois Statutes 820 ILCS § 115 et seq. by regularly and

repeatedly failing to compensate Plaintiff and other similarly situated class members for the

actual time they worked each week within 13 days of the date such compensation was earned and

by failing to properly compensate Plaintiff and class members their rightful wages by the next

scheduled payday after their separation.




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        44.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff and

similarly situated individuals have suffered and will continue to suffer lost wages and other

damages.

        45.     Plaintiffs are also entitled to class-wide injunctive relief to prevent Defendants

from continuing its violations of these statutory provisions and other appropriate class-wide

injunctive relief.

        WHEREFORE, Plaintiff, WILLIAM HUDSON, individually and on behalf of the other

class prays for judgment against Defendants PROTECH SECURITY GROUP, INC. and KEITH

BENSON, and each of them, as follows:

                 a.    Certifying the class of individuals who were employed by Defendants as
                       hourly paid, non-exempt employees in the State of Illinois at any time
                       during the relevant statute of limitations period;

                b.     Appointing Plaintiff’s counsel as counsel for the class;

                c.     Appointing WILLIAM HUDSON as Class Representative;

                d.     Declaring and finding that the Defendants violated provisions of the
                       Illinois Wage Payment and Collection Act 820 ILCS § 115 et seq. by
                       “docking” Plaintiff’s and other class members pay and failing to pay
                       Plaintiff and the other class members wages for all time worked;

                e.     Awarding compensatory damages, including all wages owed, in an
                       amount according to proof as provided by statute;

                f.     Awarding interest on all regular and overtime compensation due accruing
                       from the date such amounts were due;

                g.     Awarding all costs and reasonable attorneys’ fees incurred in prosecuting
                       this claim;

                h.     Granting leave to amend to add claims under applicable state and federal
                       law;

                i.     Granting leave to name additional Plaintiffs by motion or any other
                       method approved by Court;



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               j.      Entry of a Permanent Injunction barring Defendants from engaging further
                       in practice that violate the Illinois Wage Payment and Collection Act, 820
                       ILCS 115/1 et seq.; and

               k.      Providing for such relief as the Court deems just and equitable.

                                          COUNT III
                                         (Class Action)
                          Violations of the Fair Labor Standards Act

       35.     Plaintiff, individually and on behalf of the class, hereby re-alleges and

incorporates paragraphs 1-34 of this Complaint as if fully set forth herein.

       36.     This count arises from Defendants’ violation of the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. in failing to pay overtime wages and properly compensate Plaintiff and

other similarly situated individuals for the actual time they worked and for all time worked in

excess of forty hours in individual work weeks.

       37.     Plaintiff and other similarly situated individuals were directed by Defendants to

work in excess of forty hours per individual work week.

       38.     Defendants “docked” Plaintiff and other similarly situated individuals’ hours for

alleged violations of Defendants’ rules, polices and standards and often, for no reason at all.

       39.     Pursuant to 29 U.S.C. § 207, Plaintiff and other similarly situated employees are

entitled to be compensated at their regular pay rate for all time worked, including any “docked”

time, and at a rate of one and one half times their regular pay rate for all time worked in excess

of forty hours in individual work weeks.

       40.     Defendants’ failure and refusal to pay Plaintiff and other similarly situated

employees for all time worked, and overtime wages for all time worked in excess of forty hours

per individual work week, violated the Fair Labor Standards Act.




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       41.     Defendants knowingly and willfully violated the Fair Labor Standards Act by

“docking” and/or eliminating Plaintiff’s and similarly situated employees’ time worked by

purposefully refusing to pay Plaintiff and other similarly situated employees for all time worked

and purposefully refusing to pay overtime wages for time worked in excess of forty hours in an

individual work week.

       WHEREFORE, Plaintiff, WILLIAM HUDSON, individually and on behalf of the class,

prays for judgment against Defendants, PROTECH SECURITY GROUP, INC. and KEITH

BENSON, and each of them, as follows:

               a.       Certifying the class of individuals who were employed by Defendants as
                        hourly paid, non-exempt employees in the State of Illinois at any time
                        during the relevant statute of limitations period;

               b.       Compensating Plaintiff and the other class members in the amount owed
                        for all time worked including one and one half times Plaintiff’s and other
                        similarly situated employees’ hourly rate for all time worked in excess of
                        forty hours per individual work week;

               c.       Appointing Plaintiff’s counsel as counsel for the class;

               d.       Appointing WILLIAM HUDSON as Class Representative;

               e.       Awarding liquidated damages in an amount equal to the amount of unpaid
                        wages and overtime wages found due;

               f.       Awarding reasonable attorneys’ fees and costs incurred in this action; and

               g.       Providing for such relief as this Court deems appropriate and just.


                                    COUNT IV
                                (Individual Action)
                    RETALIATION and WRONGFUL TERMINATION

       35.     Plaintiff, individually and on behalf of the class, hereby re-alleges and

incorporates paragraphs 1-34 of this Complaint as if fully set forth herein.




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       36.      Continually and throughout his employment with Defendants, Plaintiff

complained to management, including but not limited to Keith Benson, about having hours

docked from his actual hours workedas punishment for alleged violations of Defendants’ rules

and policies.

       37.      Continually and throughout his employment with Defendants, Plaintiff

complained to management, including but not limited to Keith Benson, about having time

eliminated and/or incorrectly calculated and shorted from his actual hours worked.

       38.      Continually and throughout his employment with Defendants Plaintiff complained

to management, including but not limited to Keith Benson, about not receiving overtime wages

for weeks in which he worked in excess of forty hours

       39.      In response to Plaintiff’s complaints about being “docked” time worked, not being

paid for all hours worked and his complaints regarding non-payment of overtime wages, Plaintiff

was reprimanded, told he would be removed from job assignments and eventually, on or

aboutMarch 1, 2015, was terminated from his employment with Defendants.

       40.      The Illinois Minimum Wage Act, 820 ILCS 105/1 et seq., Illinois Wage Payment

and Collection Act, 820 ILCS 115/1 et seq., and the Fair Labor Standards Act, 29 U.S.C. § 201

et seq. prohibit employers from retaliating against employees for complaints regarding non-

payment of earned wages.

       41.      Defendants knowingly and willfully violated Illinois and Federal wage and hour

statutes when it terminated Plaintiff in retaliation for his complaints regarding Defendants’ wage

and hour policies and practices.

       42.      As a result of Defendants’ unlawful employment actions, Plaintiff suffered and

continues to suffer lost wages and other damages.



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       WHEREFORE, Plaintiff, WILLIAM HUDSON, individually, prays for judgment against

Defendants PROTECH SECURITY GROUP, INC. and KEITH BENSON, and each of them, as

follows:

       a.    Declaring conduct of Defendants, and their agents/employees as described herein,
             is in violation of the Illinois Minimum Wage Act, 820 ILCS 105/1 et seq., Illinois
             Wage Payment and Collection Act, 820 ILCS 115/1 et seq. and/or the Fair Labor
             Standards Act, 29 U.S.C. § 207;

       b.    Awarding compensatory and punitive damages;

       c.    Awarding reasonable attorneys’ fees and costs; and

       d.    Providing for such relief as the Court deems just and equitable.


PLAINTIFF DEMANDS A TRIAL BY JURY


Dated: December 8, 2015




                                                          Respectfully Submitted,



                                                          s/Seth R. Halpern
                                                          Seth R. Halpern




Seth R. Halpern
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